                           1:15-cv-01202-CSB # 14                       Page 1 of 9
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                                                                                                   Tuesday, 04 August, 2015 12:51:05 PM
                                                                                                           Clerk, U.S. District Court, ILCD
                                                   'Qllntttb states 1!\tstrtct <!Court
                                                              CENTRAL DISTRICT OF ILLINOIS



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                                                   Plaintiff            )
                                                                        )
                              vs.                                       )                  CaseNo. l:/5-C.V-1201.
                                                                        )       (The case number will be assigned by the clerk)
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                                                                        )
                                                   Defendant(s)         )

      (List the fall name of ALL plaintifft and defendants in the caption above,                     Ifyou need more room.   attach a
      separate caption page in the above format) .

                                                                      COMPLAINT*

     Indicate below the federal legal basis for your complaint, ifknown. This form is designed primarily for prose
     prisoners challenging the constitutionality of their conditions ofconfinement, claims which are often brought
      under 42 USC. § 1983 (against state, county, or municipal defendants) or in a "Bivens" action (againstfederal
     defendants). However, 42 U.S C. § 1983 and "Bivens" do not cover allprisoners' claims. Many prisoners' legal
      claims arise from otherfederal laws. Your particular claim may be based on different or additional sources of
     federal law. You may adapt this form to your claim or draft your own complaint.

      ~       42 U.S.C. § 1983 (state, county or municipal defendants)

      Cl      Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)(federa1 defendants)

      Cl      Other federal law:




                  *Please refer to the instructions when filling out this complaint. Prisoners are not required to
                  use this form or to answer all the questions on this form in order to file a complaint. This is not
                  the form to file a habeas corpus petition.
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                                                      I. FEDERAL JURISDICTION

        Jurisdiction is based on 28 U.S .C. § 1331, a civil action arising under the United States Constitution or
other federal law. (You may assert a different jurisdictional basis, if appropriate).

                                                                                   II. PARTIES

A. Plaintiff:



                                                                  .--:-,
          Prison Identification Number: __-_ _""'""'.::;.._
                                                       ) _ _ __ _ _ _ _ _ _ _ _ __

          Current address:             {Y/c n v1.f?£/ { (..,;,:ft?(:;,;.,,.hr... ,. . l / {           ( -·(Ii I("-          p c hc; ;,')'- (_ (..,
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For additional plaintiffs, provide the information in the same format as above on a separate page. If there is
more than one plaintiff, each plaintiffmust sign the Complaint, and each plaintiffis responsible for paying his
or her own complete, separate filing fee.

B. Defendants

   Defendant #1:
                                     -,.)·-irt)       ·q   t ,_._;.
           Full Name:                             I


                                                                                                            , r

           Current Job Title:                                                                   •   ~{. :~_,.-~,;    ...~    "f\~~     _: ' -




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                                                                          ,.;..

   Defendant #2:

           Full Name:

           Current Job Title:

           Current Work Address _f:
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    Defendant #3:

           Full Name:                   f .~               " 1 '
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                                                                                            2
                       1:15-cv-01202-CSB # 14                                                         Page 3 of 9


           Current Job Title:

           Current Work Address                               f\ .1()4-f) iL :.:.,; iC f.....~: . .: f~.;-ri'f. ?11 ,~'·-Z 0/c /!...


   Defendant #4:

           Full Name:
                                                                                        ""·                         .        .        ,              '
           Current Job Title:                        C-·J._,.sJu'                  c~             se( . . c ·r~'                     /1...-" 1'~1?.-1-i1()n




    Defendant #5:

           Full Name:

           Current Job Title:



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For additional defendants, provide the information in the same format as above on a separate page.


                                                                    III. LITIGATION HISTORY

           The "three strikes rule " bars a prisoner from bringing a civil action or appeal in forma pauveris in
federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in anyfacility, brought
an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
 malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger ofserious physical injury. 11 28 U.S. C. § 191 S(g).

A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

in this case?                      Yes           D                                 No         m
If yes, please describe - - - - - - - - -- - - - - - - - - - - -- - - --



B. Have you brought any other lawsuits in federal court while incarcerated?
       /
Yes Ill                       No D

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C. If your answer to Bis yes, how many? _ _ _                    Describe the lawsuit(s) below.


   1. Name of Case, Court and Docket Number


   2. Basic claim made
                         -------- -------- ---- ------
   3. Disposition (That is, how did the case end? Was the case dismissed? Was it appealed? Is it still

pending?)


For additional cases, provide the above information in the same format on a separate page.




                        IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

          Prisoners must exhaust available administrative remedies beforefiling an action in federal court about
prison conditions. 42 U.S. C. § J997e(a). You are not required to allege or prove exhaustion ofadministrative
remedies in the complaint. However, your case must be dismissed if the defendants show that you have not
exhausted your administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
You may attach copies ofmaterials relating to exhaustion, such as grievances, appeals, and official responses.
These materials are not required to file a complaint, but they may assist the court in understanding your claim.
                                                                                       /
A. Is there a grievance procedure available at your institution? Yes                 CZl   No   Cl


B. Have you filed a grievance concerning the facts relating to this complaint?

            Yes   M   No CJ

If your answer is no, explain why not - - -- - - -- - -- - - - - - - - -- - -


C. Is the grievance process completed?          Yes         Cl        No Cl ::;Jt2.\<:K. K<:.'Ce1vCGI CL -I   ·-'-J( t..,.:..:t) b.,c..l(C41)d
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                                 1:15-cv-01202-CSB # 14                                                 Page 6 of 9



                                                                               V. STATEMEI\l'f OF CLAIM

 Place(s) of the occurrence }:7t.:1~+·,,,( Cc ~Z{c·~ ·\C 1 .... , ' I c.~· 1"\ff,

 Date(s) oftheoccurrence ~-..{                                1    )     4\)L \ '. .....                1   ,Jt '-' - .::.c)l                    J· ..


State here briefly the FACTS that support your case. Describe what each defendant did to violate your federal
rights. You ·do not need to give any legal arguments or cite cases or statutes. Number each claim in a separate
paragraph. Unrelated claims should be raised in a separate civil action. .

 THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule of Civil Procedure B(a)
 requires only a "short and plain statement" ofyour claim showing that you are entitled to relief It is best to
 include only the basic, relevant facts, including dates, places, and names.



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                       1:15-cv-01202-CSB # 14                                                             Page 9 of 9



                                                                                                 RELIEF REQUESTED
                                                                   (State what relief you want from the court.)




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JURY DEMA.t'\ID                                         Yes        lZl                           No               D

         Signed this _ __3_                             _ __ day of                                    ..L{)fJ . ') -                                             '2015'
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                                                                                                                                                  ( Signature of Plaintiff)




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